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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                    NO. 4:13CR00068-01 JLH

KENNETH EUGENE BROWN, II                                                           DEFENDANT

                                            ORDER

       Court convened for a scheduled change of plea hearing in this matter on Thursday, February

20, 2014. During the course of the hearing, the Court was informed that defendant’s true name is

Kenneth Eugene Brown, II. Therefore, the Clerk is directed to take the appropriate steps to reflect

that defendant’s correct name is Kenneth Eugene Brown, II.

       IT IS SO ORDERED this 20th day of February, 2014.




                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
